                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )       Criminal Case: 3:09-00047
vs.                                            )
                                               )       JUDGE CRENSHAW
ADRIAN PATTERSON                               )


                                 MOTION TO CHANGE PLEA


         Comes now Defendant, by and through Counsel, and moves this Honorable Court for a

change of plea hearing. Defendant will be pleading “open” to Counts 2 – 5 of the Superseding

Indictment, with no agreement with the Government. Subject to the Court’s approval, Defendant

is prepared to enter his guilty pleas at the already-scheduled January 5, 2018 status hearing.



Respectfully submitted,

s/ Kyle Mothershead
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                                 CERTIFICATE OF SERVICE

I hereby certify that on January 4, 2018 a copy of the foregoing Motion to Change Plea was
filed electronically. Notice of this filing will be sent by operation of the Court's electronic filing
system to all parties indicated on the electronic filing receipt, including Sunny Koshy, Counsel
for the Government. Parties may access this filing through the Court's electronic filing system.

s/ Kyle Mothershead
Kyle Mothershead, BPR 22953




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